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                                                     THE HONORABLE JOHN C. COUGHENOUR
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                                UNITED STATES DISTRICT COURT
 7
                               WESTERN DISTRICT OF WASHINGTON
 8                                       AT SEATTLE

 9    UNITED STATES OF AMERICA,                          CASE NO. CR20-0092-JCC
10                           Plaintiff,                  MINUTE ORDER
11            v.

12    JOSE ELIAS BARBOSA,

13                           Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on Defendant’s unopposed motion to continue
18   pretrial motions deadline (Dkt. No. 285). Finding good cause, the Court GRANTS Defendant’s
19   motion. Pretrial motions in this matter must be filed by August 5, 2021.
20          DATED this 19th day of October 2020.
21                                                         William M. McCool
                                                           Clerk of Court
22

23                                                         s/Tomas Hernandez
                                                           Deputy Clerk
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     MINUTE ORDER
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